Case: 1:23-cr-00639-PAB Doc #:1 Filed: 12/06/23 1of 2. PagelD# 1

FILED

DEC 06 2023
IN THE UNITED STATES DISTRICT COURT clerk US, DistRCT Courr
FOR THE NORTHERN DISTRICT OF OHIO NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

INDICTMENT

dg 23 CR 00639

UNITED STATES OF AMERICA, )
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)
)
)
) Title 18, United States Code,
)
)
)
)
)

Plaintiff,

Vv.

ANTON WOODLEY,
CASHAUN WOODLEY,
LAVONTAY JOHNSON.

Sections 1201(a)(1) and 2119(1)
JUDGE BARKER
Defendants.

COUNT 1
(Carjacking, 18 U.S.C. § 2119(1))

The Grand Jury charges:

1. On or about December 12, 2021, in the Northern District of Ohio, Eastern
Division, Defendants ANTON WOODLEY, CASHAUN WOODLEY, and LAVONTAY
JOHNSON did knowingly and intentionally, by force and violence and by intimidation, and with
intent to cause death or serious bodily harm, take a motor vehicle, to wit: a 2017 Gray Jeep
Grand Cherokee, Ohio license plate JJD9189, that had been transported in interstate commerce
from the person or presence of another, in violation of Title 18, United States Code, Section
2119(1).

COUNT 2
(Kidnapping, 18 U.S.C. § 1201(a)(1))

The Grand Jury further charges:
2. On or about December 12, 2021, in the Northern District of Ohio, Eastern

Division, Defendants ANTON WOODLEY, CASHAUN WOODLEY, and LAVONTAY
Case: 1:23-cr-00639-PAB Doc #:1 Filed: 12/06/23 2 of 2. PagelID #: 2

JOHNSON did unlawfully and willfully seize, confine, kidnap, abduct, carry away, and hold for
random, reward, and otherwise facilitate the taking of financial and other property, and, in
committing or in furtherance of the commission of the offense, used a 2017 Gray Jeep Grand
Cherokee, telephones, and the Internet, each of which is a means, facility, and instrumentality of

interstate or foreign commerce, all in violation of Title 18, United States Code, Section

1201(a)(1).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
